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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

MICHAEL REEVES,                                §
TDCJ #559661,                                  §
           Plaintiff,                          §
                                               §            CIVIL ACTION NO. 4:15-cv-02170
v.                                             §
                                               §
JOSEPH C. WILLIAMS                             §
           Defendant.                          §

                        PLAINTIFF REEVES’ MOTIONS IN LIMINE

       Plaintiff Reeves respectfully files these motions in limine seeking an order instructing

counsel and all witnesses called by or on behalf of Defendant not to mention, discuss, or allude to

any of the following topics before the jury, whether in voir dire, opening statement, examination

of witnesses, offering of evidence, interposing or arguing objections, eliciting testimony, closing

argument, or any other manner, unless and until such matters have been first called to the Court’s

attention, out of the presence of the jury, and a favorable ruling received as to their admissibility.

Argument, introduction of evidence, or comments about any of these topics should be barred for

at least the reason that the topics would be irrelevant under Rules 401 and 402 of the Federal Rules

of Evidence and/or improper under Rule 403 as being unfairly prejudicial, misleading, confusing

to the jury, or a waste of time. Sustaining objections to questions, comments, or offers of evidence

as to these topics would not cure, but would instead reinforce, the prejudicial impact of such

matters, and curative instructions would be ineffective in preventing the prejudicial impact on

jurors. Additional grounds supporting exclusion are set forth separately below.

       To the extent permitted, Reeves may submit additional motions in limine.




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1. References to Attempted Murder.

       Plaintiff Reeves has served over 24 years in the custody of the Texas Department of

Criminal Justice. This is the first time he has ever claimed he suffered an injury at the hands of a

correctional officer. There is no dispute that Reeves was convicted of a felony and served a quarter

of a century in jail for that conviction. However, any reference to the name or nature of his offense

would be highly prejudicial to Plaintiff Reeves, and substantially more prejudicial than probative.

FRE 403.

       Defendant Williams admits that Plaintiff Reeves did not resist when he was placed in

handcuffs, and there is no indication whatsoever that Plaintiff Reeves acted aggressively towards

the officers. X-1, Williams depo at 75 (“Mr. Reeves, from what I observed, was not resisting in

any form. Anytime he was told to do something, he did it.”). Any reference to a conviction for

attempted murder against a police officer will almost certainly inappropriately and unjustly

convince the jury that Plaintiff Reeves acted aggressively towards the officers, even though the

facts do not support any such inference. Furthermore, any reference to his conviction will lead a

jury to believe that Plaintiff Reeves has an inherent aggression and violence towards law

enforcement officials which is also not supported by any of the facts of this case.

       The only reason to reference attempted murder would be to anger or mislead the jury and

prejudice Plaintiff Reeves. To the extent that Defendant Williams wants to attack the credibility

of Plaintiff Reeves for being a convicted felon, Defendant Williams has proposed the following

jury instruction: “In weighing the credibility of a witness, you may consider the fact that he or she

has previously been convicted of a felony. Such a conviction does not necessarily destroy the

witness’s credibility, but it is one of the circumstances you may take into account in determining




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the weight to give to his testimony.” This instruction should be sufficient to address Plaintiff

Reeves’ credibility as a witness. No reference to the underlying offense is necessary.



               __________                     __________                     __________
               AGREED                         GRANTED                        DENIED




2. Evidence that Contradicts Judicial Admissions Made in Summary Judgment Pleadings.

       In this case, Defendant Williams filed a motion for summary judgment against Plaintiff

Reeves in this Court on August 3, 2016. (Dkt. 23). Among the factual assertions within the

summary judgment, Defendant Williams admitted: “Officer Williams ordered Plaintiff to get up

off the floor, cuffed his hands behind his back, and escorted him out with a second officer.” (Id. at

6). Defendant Williams further admitted: “It is undisputed that the Defendant Williams escorted

Plaintiff out of the gym.”

       This Court should exclude any testimony or evidence that contradicts the judicial

admissions that Defendant Williams made in his motion for summary judgment. In White v.

ARCO/Polymers, Inc., 720 F.2d 1391, 1396 (5th Cir. 1983), the Fifth Circuit explained that

“Factual assertions in pleadings . . . are considered to be judicial admissions conclusively binding

on the party who made them.” A party therefore may not rebut a judicial admission made in its

pleadings with new evidence or testimony. See Davis v. A.G. Edwards & Sons, Inc., 823 F.2d 105,

107-08 (5th Cir. 1987). As explained by the Sixth Circuit in Ferguson v. Neighborhood Housing

Services of Cleveland, Inc., 780 F.2d 549, 550-51 (6th Cir. 1986), “Judicial admissions ‘eliminate

the need for evidence on the subject matter of the admission,’ as admitted facts are no longer at




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issue.”, quoting Seven-Up Bottling Co. v. Seven-Up Co., 420 F. Supp. 1246, 1251 (E.D. Mo. 1976),

aff’d, 561 F.2d 1275 (8th Cir. 1977).

       In this case, Defendant Williams clearly and unequivocally admitted in a summary

judgment pleading before this Court that he “ordered Plaintiff to get up off the floor, cuffed his

hands behind his back, and escorted him out with a second officer.” Defendant Williams

emphasized that these factual assertions were “undisputed.” Had this Court granted summary

judgment based upon these facts, that would have been the end of the story. This Court should not

allow Defendant Williams to rebut the judicial admissions made in his summary judgment

pleading.



               __________                     __________                     __________
               AGREED                         GRANTED                        DENIED




3. Risk Management Inquiry Offender Incident Form.

       Defendant Williams should be precluded from offering any evidence or argument

concerning the Risk Management Incident Reporting System Inquiry Offender Incident Form that

counsel for Defendant Williams produced to Plaintiff Reeves on March 12, 2019. X-2. Counsel

for Defendant Williams claims that the incident form is a business record, but the incident form

should be excluded for lack of trustworthiness.

           First, the incident form (and affidavit in support of the incident form) are dated March

            11, 2019, after this litigation has commenced. However, Cliff Prestwood, the records

            custodian, testified that he does not know and does not know how to determine when

            the incident form was last updated, edited, changed or modified. See X-3, Prestwood


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     depo [draft] at 14 (“Q: This document does not show when any edits, changes, or

     modifications were last made? A: Not that I have noticed through my review. Q: Is

     there a way to determine that in your system? A: That, I don’t know sir.”).

    Second, the incident form says “Litigation: Y” on the first page and third line of the

     form. X-2. This appears to be a clear indication that the document was prepared in

     anticipation of litigation, or at least prepared with an eye toward litigation. Indeed, Cliff

     Prestwood, the records custodian, testified that part of the role of the TDCJ risk

     management department is to “mitigate risk, loss, and liability for TDCJ. Because the

     document was designed to mitigate litigation risk for TDCJ, it lacks trustworthiness.

    Third, the incident form indicates that the narrative portion is only an “inquiry

     narrative.” Although Cliff Prestwood could not confirm the meaning of “inquiry

     narrative,” he did confirm that the “inquiry narrative” did not receive a Regional

     Supervisor’s Review and did not receive an Administrative Incident Review. An

     Administrative Incident review would have required, among other things: (a) a review

     of the circumstances of the incident; (b) identification of the names of the persons

     involved; (c) a review of events leading up to and following the incident; (d) a

     consideration of whether the actions taken were consistent with Agency policies and

     procedures; (e) an identification of actions, if any, that could be taken to avoid future

     incidents of a similar nature and identification of training needs; (f) a determination of

     whether substandard employee conduct was a factor in the incident; (g) an

     identification of the corrective action taken. None of these steps occurred for the

     inquiry involving Plaintiff Reeves. See X-4 TDCJ Administrative Directive AD-02.15,

     at 6; X-3, Prestwood depo [draft] at 14-18.


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          Fourth, neither Cliff Prestwood, nor the risk manager identified on the incident form,

           was involved in the incident or collected the information shown in the incident form.

           Cliff Prestwood could not even identify the risk manager that entered the information

           or determine who collected the information in the incident form. See X-3, Prestwood

           depo [draft] at 9 (“I don’t know who the risk manager was in 2015 that entered the

           information”).

       The business-records exception removes the hearsay bar for records kept in the course of

a regularly conducted business activity if making the records is a regular practice of that business

activity, so long as “neither the source of information nor the method or circumstances of

preparation indicate a lack of trustworthiness.” Fed.R.Evid. 803(6).

       It is well established, though, that documents prepared in anticipation of litigation are not

admissible under FRE 803(6). See Palmer v. Hoffman, 318 U.S. 109, 113-14 (1943); see also

Melendez-Diaz v. Massachusetts, 557 U.S. 305, 321 (2009). Litigation generally is not a regularly

conducted business activity. AMPAT/Midwest, Inc. v. Ill. Tool Works Inc., 896 F.2d 1035, 1045

(7th Cir.1990); see Palmer, 318 U.S. at 114, 63 S.Ct. 477 (accident report created by railroad

employee after an accident was not a business record because its “primary utility [was] in litigating,

not in railroading”); Timberlake Constr. Co. v. U.S. Fid. & Guar. Co., 71 F.3d 335, 342 (10th

Cir.1995) (“It is well-established that one who prepares a document in anticipation of litigation is

not acting in the regular course of business.”). And documents prepared with an eye toward

litigation raise serious trustworthiness concerns because there is a strong incentive to deceive

(namely, avoiding liability). See Hoffman v. Palmer, 129 F.2d 976, 991 (2d Cir.1942) (Frank, J.)

(documents prepared for litigation are “dripping with motivations to misrepresent”), aff’d, 318

U.S. 109 (1943).



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       In this case, the incident form shows that it was prepared in anticipation of current or

potential litigation concerning Plaintiff Reeves’ claims. Moreover, the incident form only provides

an “inquiry narrative.” There is no indication that an official investigation with a regional or

administrative review ever occurred. Evidence regarding the incident form should be excluded.



               __________                      __________                     __________
               AGREED                          GRANTED                        DENIED




4. Emergency Action Center System Incident Report.

       This Court should preclude Defendant Williams from offering any evidence or argument

concerning the Emergency Action Center System Incident Report prepared by Lt. Billy McCreary.

X-5. The business-records exception removes the hearsay bar for records kept in the course of a

regularly conducted business activity if making the records is a regular practice of that business

activity, so long as “neither the source of information nor the method or circumstances of

preparation indicate a lack of trustworthiness.” Fed.R.Evid. 803(6). In this case, the incident report

lacks trustworthiness for several reasons.

          First, the incident report does not identify the source of any of the relevant statements

           within the report. Worse, the author of the report, Lt. Billy McCreary could not identify

           the source of any statement or identify the persons present in the infirmary at the time.


                       Q. Within the narrative it says that “Mr. Reeves was being
                       seen by medical staff after being escorted to the infirmary
                       complaining of being unable to walk due to feeling faint.”
                       Do you see that?

                       A. I do.



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             Q. Who said that Mr. Reeves was complaining of being
             unable to walk due to feeling faint?

             A. I can’t answer that. It doesn’t say here, so you’re asking
             me to recall who I talked to four years ago. It’s kind of
             difficult. So I honestly can’t answer who I spoke with at that
             moment.

             Q. Okay. The next sentence says: “Offender Reeves began
             to become aggressive in his demeanor and belligerent
             towards the nursing staff at which time he threw himself to
             the floor in a fit of anger striking his left knee on the floor.”
             Do you see that?

             A. I do.

             Q. Do you know who told you that?

             A. Again, I would have interviewed whoever was in the
             infirmary at the time; but I can’t recall specific names.

             Q. And you didn’t personally see that happen?

             A. I did not.

             ....

             Q. Do you know what specifically Mr. Reeves did to be
             called aggressive?

             A. It’s not my determination. Each person perceives
             aggression differently. So I don’t know exactly what they
             perceived to be aggressive.

             Q. And do you know what specifically Mr. Reeves said?

             A. Again, you’re asking me to recall information that was
             four years ago, a little over four years ago; and I just don’t
             know exactly what Mr. Reeves said, no, sir.

             Q. It says Mr. Reeves threw himself to the floor in a fit of
             anger striking his left knee on the floor. Do you know who
             said that?

             A. Would have been reported by someone in there, yes, sir.

             Q. You don’t know who?

             A. No, sir.
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                        Q. Do you know who was in the infirmary at the time?

                        A. I can’t recall the exact people who were there.

X-6, McCreary Depo at 50-52.

         Second, Lt. Billy McCreary was not present in the infirmary when any of the events

          occurred. X-6 McCreary depo at 48 (“Q. Were you in the unit infirmary when the

          incident occurred? A. No, sir.”)

         Third, the report says Lt. Myers is the initial incident commander. Meaning, Lt. Myers

          is reportedly the first officer on the scene in the infirmary. X-6, McCreary depo 48-49.

          However, Lt. Myers denied ever stepping foot in the infirmary on the day of the

          incident. X-7, Myers depo at 41, 45-46, 62 (“Q. Do you recall seeing the medical staff

          examining Mr. Reeves in the infirmary? A. No, sir. I wasn’t there.”). Even if Lt. Myers

          actually did go to the infirmary, he denies knowing what if anything happened in the

          infirmary, and cannot now support the statements made in the report.

         Fourth, Lt. Billy McCreary testified that his notes, if any, are likely in the garbage. X-

          6, McCreary depo 61 (“Q. Where do you keep your notes? A. On my personal notepad.

          Q. Where would your personal notepad be from April, 2015? A. Probably in the

          garbage.”).

         Fifth, the report contains statements that contradict undisputed facts and testimony.

          The report says Reeves was “escorted to the infirmary complaining of being unable to

          walk due to feeling faint.” However, Officer Williams testified that Reeves never said

          he felt faint. X-1, Williams depo 69. Lt. Myers similarly testified that Reeves was

          yelling loudly and that Reeves never said he was feeling faint. X-7, Myers depo 70.

          Notably, Lt. McCreary could not identify the person who said Mr. Reeves was

          complaining of being unable to walk due to feeling faint. X-6, McCreary depo at 50.
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     Sixth, the report says Reeves “threw himself to the floor in a fit of anger striking his

      left knee on the floor” and “the tibia bone of the left leg was fractured.” But the

      undisputed record shows the tibia bone of Reeve’s RIGHT leg was fractured – not the

      left one. X-8, Huntsville Memorial Hospital Medical Record.

     Seventh, the report makes generalized observations without specific factual findings or

      a specific identification of the person who purportedly experienced the observations.

      For example, the report says Reeves “became aggressive in his demeanor and

      belligerent towards the nursing staff” but does not identify any specific statements or

      actions that Reeves made. Notably, Lt. McCreary testified that he could not identify

      who told him that or what Mr. Reeves did to be called aggressive. Instead, Lt. McCreary

      explained “It’s not my determination. Each person perceives aggression differently. So

      I don’t know exactly what they perceived to be aggressive.” X-6, Mcreary depo at 51.

     Eighth, the timing and circumstances of the report make it less reliable. The report is

      clearly written for purposes of litigation. It was not written until it was determined that

      Mr. Reeves, an inmate, suffered a fractured tibia while in the custody of correctional

      officers. Worse, the incident report is nearly word-for-word identical to an Interoffice

      Communication that Lt. McCreary testified he would not have used in an investigation.

      X-6, McCreary depo at 61 (“Q. Have you used interoffice communications while

      conducting an investigation related to an Emergency Action Center System Incident

      Report? A. No, sir.” “Q. When you are creating an Emergency Action Center System

      Incident Report is there something that you do to try to make the report consistent with

      what is stated in an interoffice communication? A. Again, I don’t necessarily collect an




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           interoffice communication. So I don’t know how I would make it accurate with

           something that I don’t collect.”).

          Ninth, there is no indication that the incident report was reviewed by a Regional

           Supervisor Review or Administrative Incident Review was conducted for the incident

           report. This makes the untrustworthy double and triple hearsay within the incident

           report even less reliable.

See Scheerer v. Hardee’s Food Sys., 92 F.3d 702, 706 (8th Cir. 1996) (holding “incident report

was not admissible as a business record under Fed. R. Evid. 803(6) because the source of the

information contained therein was never identified” and “In the absence of any evidence about the

source of that information, we cannot test its reliability or trustworthiness.”); Meder v. Everest &

Jennings, Inc., 637 F.2d 1182, 1187 & n.6 (8th Cir. 1981) (reference in police report about cause

of accident should have been excluded because the author was not on the scene at the time of the

accident, did not remember whether victim-plaintiff made a statement and did not recall with

whom he spoke at the scene); United States v. Filippi, 172 F.3d 864 (4th Cir. 1999) (statements in

an author’s recorded memorandum that are not those of the author constitute hearsay within

hearsay). See also FRE 803, Advisory Committee Notes, 1972 Proposed Rules, Note to Paragraph

(8) (“Police reports have generally been excluded except to the extent to which the incorporate

firsthand observations of the officer.”).



               __________                       __________                  __________
               AGREED                           GRANTED                     DENIED




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5. Inter-Office Communications Containing Hearsay Statements.

       This Court should preclude Defendant Williams from offering evidence or argument

concerning certain Inter-Office Communications that counsel for Defendant Williams produced

on March 12, 2019. X-9. Counsel for Defendant Williams produced the documents with a

purported business records affidavit of Cliff Prestwood, the custodian of records for the Risk

Management Department of the Texas Department of Criminal Justice. Mr. Prestwood admitted

that he is not the custodian of records for the Inter-Office Communications. Mr. Prestwood did not

know how the Inter-Office Communications were stored. Mr. Prestwood admitted that the Inter-

Office Communications were not contained in any system he maintained before he signed the

affidavit on March 11, 2019. Mr. Prestwood also admitted that he has no direct knowledge of how

the unit risk manager at the Estelle Unit received the documents. See Castro v. DeVry University,

Inc., 786 F. 3d 559, 578 (7th Cir. 2015) (finding “declaration did not lay a sufficient foundation to

authenticate the documents. Rule 803(6) requires authentication by a ‘custodian or another

qualified witness.’ Castro’s declaration did not establish that she was a custodian or otherwise

qualified witness.”). In this case, Mr. Prestwood admits that he is not a custodian or otherwise

qualified witness.

       Moreover, the Inter-Office Communications lack trustworthiness. There is no indication

that the statements are a regularly conducted business activity. There is no indication that the

statements are used to report any statistics or other business operations. The strongest indication

is that the statements were made for purposes of litigation, and with knowledge that no further

internal investigation would occur. Indeed, for certain communications, the statements are nearly

word-for-word identical. The substantial overlap between the statements makes coordination

among the witnesses a near certainty. However, as Cliff Prestwood a former captain, major, and



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assistant warden, explains: the witnesses should not have been allowed to coordinate or copy each

other’s statements.


               Q. When creating interoffice communications, are staff members
               permitted to coordinate their stories?

               A. No, sir, not that I am aware of.

               Q. You don’t know whether they are or not?

               A. I can’t tell you what happened with this

               specific incident, but I can tell you when I conduct an investigation
               or an inquiry, I don’t allow staff to get together and what did you
               say, coordinate their information.

               Q. Why not?

               A. It compromises the integrity of the investigation or inquiry.

X-3, Prestwood depo [draft] at 33-34, 44-45.


               __________                      __________                      __________
               AGREED                          GRANTED                         DENIED


Respectfully submitted,

                                                     SUSMAN GODFREY L.L.P.

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                                     Certificate of Service

       I certify that on April 22, 2019, a true and correct copy of this document properly was
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of Texas Procedures for Electronic Case Filings.


                                                /s/ Chanler A. Langham
                                                Chanler A. Langham




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